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Case 1:19-cv-23900-RNS Document 10 Ente

  

Department of the Treasury

Federal Law Enforcement Agencies

PROCESS RECEIPT AND RETURN

 

 

 

 

 

 

Plaintiff Court Case Number
United States of America 19-CV-23900-RNS
Defendant Type of Process

 

 

SERVE Name of Individual, Company, Corporation, ETC. To Serve or Description of Property to Seize
AT One (1) Rolls Royce Phantom, VIN SCA682D53CUX16710

Address (Street or RFD, Apartment No., City, State and Zip Code)

 

 

 

 

 

 

 

 

c/o _ICE
send Notice of Service Copy to Requester at Name and Address Number of Process to
AUSA Nicole Grosnoff be Served in this Case. 1
99 NE 4th Street Number of Parties to be i
Miami, FL 33132 Served in this Case.
t
Check Box if Service is} X
on USA

 

 

 

Special Instructions or Other Information That Will Assist in Expediting Service (Includes Business and Alternate Address, Phone # and
Est. Times Available for Service):

 

Please serve the Verified Complaint/Warrant of Arrest In Rem.

If you have any questions please call my paralegal, Carolina Gonzalez, at 305-961-9079.
FPF No. 2019520100026601

 

Signature of Attorney or Other Originator Requesting Service on Behalf of lV] Plaintiff: Telephone No. Date

> [] Defendant: |(305) 961-9294 Cy
|SIGNATURE & DATE OF PE N ACCEPTING PROCESS:
fe [2.4&.1F

SPACE BELOW FOR USE OF TREASURY LAW ENFORCEMENT AGENCY

| acknowledge receipt for the total number] District of Origin No. | District to Serve No. Signature of Authorized Treasury Agency Office. Date

/ + b] P/fo2fro

| Hereby Certify and Return That[__] Personally served L] Have Legal Evidence(of, al ieGiee? Chea Have Executed as Shown in "Remarks"
the Process Described on the Individual, Company, Corporation, etc. at the AddresS Show e or at the Address Inserted Below.

([] | HEREBY CERTIFY AND RETURN THAT | AM UNABLE TO LOCATE THE INDIVIDUAL , COMPANY, CORPORATION, ETC NAMED ABOVE.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name & Title of Individual Served if Not Shown Above: oO A Person of suitable age and discretion then residing
in the defendant's usual place of abode.
Address: Complete only if different than pee Date of Service Time of Service
uls$. Cus doms 5X Meret Ave Pre on /- 77-2020 4430 AM
C6of ww 2ZF5F4 “hf Sere 203 : :
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REMARKS: Se v

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.

 

Certified to be a true and
correct copy of the Gacument on file
s a E. Noble, Clerk,

U.S. District Court
Southern District of Florida

py Ruddy Merino
Deputy Cierk

 
 

UNITED STATES OF AMERICA,

Plaintiff,
Vv.

 

 

 

 

ONE (1) 2012 ROLLS ROYCE
PHANTOM DROPHEAD,
BEARING VIN
SCA682D53CUX16710,

ONE (1) 2016 FERRARI FF
MODEL, BEARING VIN
ZFF73SKA0G0215302,

ONE (1) 2017 PORSCHE 911
TURBO COUPE 2D, BEARING
VIN WPOAD2A94HS166412, and
ONE (1) 2014 MASERATI
QUATTROPORTE, BEARING VIN
ZAMS56PPA7E1084665,

Defendants Jn Rem.
/

VERIFIED COMPLAINT FOR FORFEITURE IN REM
Plaintiff, United States of America, by and through the undersigned Assistant United States
Attorney for the Southern District of Florida, hereby files this complaint for forfeiture and alleges
as follows:
i. This is a civil action in rem for the forfeiture of the following Defendants Jn Rem

(collectively, the “Defendant Vehicles”) pursuant to18 U.S.C. § 981(a)(1)(C):
Caselaw 23500 MXKX LPOCaAer ta FSU GnRLSD DopstOSReA0ID Rage Que

a. One (1) 2012 Rolls Royce Phantom Drophead, bearing Vehicle Identification
Number (“VIN”) SCA682D53CUX16710 (the “Rolls Royce”);

b. One (1) 2016 Ferrari FF Model, bearing VIN ZFF73SKA0G0215302 (the
“Ferrari”);

c. One (1) 2017 Porsche 911 Turbo Coupe 2D, bearing VIN
WPO0AD2A94HS 166412 (the “Porsche”); and

d. One (1) 2014 Maserati Quattroporte, bearing VIN ZAM56PPA7E1084665 (the
“Maserati’”)

2. The Court has jurisdiction over this subject matter pursuant to 28 U.S.C. §§ 1345
and 1355.

3. This Court has in rem jurisdiction over the Defendant Vehicles pursuant to 28
U.S.C. § 1355.

4, This Court has venue over this action pursuant to 28 U.S.C. §§ 1355 and 1395.

| FACTS

5. On or about August 16, 2018, a federal grand jury in the Southern District of Florida
retuned a sealed Indictment that charged defendant Raul Gorrin Belisario (“Gorrin”), a
Venezuelan national who is presently in Venezuela, on one count of conspiracy to violate the
Foreign Corrupt Practices Act (“FCPA”) in violation of 18 U.S.C. § 371, one count of conspiracy
to commit money laundering in violation of 18 U.S.C. § 1956(h), and nine substantive counts of
laundering of monetary instruments in violation of 18 U.S.C. § 1956(a)(2)(A). See Case No.
9:18-CR-80160-WPD (S.D. Fla.).

6. As alleged in the Indictment, from in or around 2011 through in or around 2017,
Gorrin caused bribe payments totaling at least approximately $94 million to be paid to foreign
Venezuelan officials. As part of the criminal investigation, law enforcement agents identified

certain assets owned by Gorrin, including the Defendant Vehicles. According to the State of
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Florida Department of Highway Safety and Motor Vehicle’s Driver and Vehicle Information
Database (“DAVID”), as of November 2018, the Defendant Vehicles were owned and registered
to Gorrin at an address in Coral Gables, Florida, which is within the Southern District of Florida.

7. In or around November 2018, the Indictment and criminal case were unsealed.
The charges against Gorrin garnered widespread media attention, including in local newspapers.
See, e.g., Jay Weaver and Antonio Maria Delgado, Venezuelan TV mogul with U.S. real estate

fortune charged in South Florida, The Miami Herald, Nov. 21, 2018.!

8. Between on or about November 30, 2018, and on or about December 3, 2018,
shortly after Gorrin’s criminal case became public, duplicate certificates of title were issued for
the Defendant Vehicles. For the Rolls Royce, the Porsche, and the Maserati, the applications for
these duplicate certificates of title were made with Florida driver’s license number G287-681-68-
140-0, purportedly issued to Gorrin. The applications indicated that the original titles had been

| “Jost.” For the Ferrari, there was no driver’s license on file, but the application also requested a
duplicate certificate of title because the original was “lost,” and was signed “RG,” purportedly by
“Raul A Gorrin.”

9. Law enforcement agents searched DAVID and learned that Florida driver’s license
number G287-681-68-140-0 did not exist. In fact, a check of DAVID revealed that no Florida
driver’s license has ever been issued to Gorrin. Instead, Gorrin had used a Venezuelan driver’s
license to purchase the Defendant Vehicles.

10. The false Florida driver’s license used to obtain the duplicate titles for the Rolls

Royce, the Porsche, and the Maserati contained Gorrin’s full name, local address, and date of birth.

 

1 https://www.miamiherald.com/news/nation-world/world/americas/venezuela/article22 1706585.html
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However, based on photos of Gorrin online and in a law enforcement database, the photo on the
license did not depict Gorrin. In fact, the photo on the driver’s license was the same photo used
in another fraudulent document, a fake Venezuelan passport recovered in January 2019.

11. According to a Department of Homeland Security database, Gorrin last departed
the United States more than a year ago, on or about November 4, 2017, from Opa Locka Airport
in Opa Locka, Florida. There was no record of his return to the United States since then.

12. Between on or about November 30, 2018, and on or about December 3, 2018,
nominal title to the Defendant Vehicles was transferred to Auto Brokers USA Corp. (“Auto
Brokers”), a Florida corporation with a principal address in Homestead, Florida, which is within
the Southern District of Florida. Based on records from DAVID, such transfers occurred using
the aforementioned duplicate certificates of title and were executed by a person purporting to be
Raul Gorrin using the fake Florida driver’s license.

13. The signature for the person purporting to be Gorrin on the executed certificates of
title for the Defendant Vehicles did not match the signature for Gorrin on certificates of title for
other vehicles purchased by Gorrin, or his signature on other documents executed by Gorrin and
sent from his e-mail accounts.

14. On or about January 5, 2019, J.D. reported to the Coral Gables Police Department
that six luxury vehicles belonging to Gorrin had been stolen. These vehicles included the four
Defendant Vehicles, as well as another vehicle. J.D. represented that J.D. was the Defendant
Vehicles’ caretaker, employed by Gorrin while Gorrin was out of the United States. J.D. told
police officers that J.D. had confirmed that Gorrin had not authorized the sale of these vehicles to

Auto Brokers.
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15. According to the police incident report, J.D. reported that on or about January 3,
2019, J.D. discovered that the vehicles had been taken from a residential building’s parking garage.
According to public records, Gorrin, through certain shell companies, owned several apartments
in the building at that address.

16. J.D. told officers that the building’s manager advised J.D. that a person representing
Auto Brokers had collected the vehicles and provided the certificates of title indicating that the
vehicles had been transferred to Auto Brokers.

17. The incident report also indicated that a Coral Gables police officer directly
contacted Gorrin in Venezuela via telephone, and Gorrin advised the officer that he would have a
power of attorney document drafted to allow J.D. to represent Gorrin’s interest in the police
investigation.

18. | The Defendant Vehicles are currently located at the following:

a. The Rolls Royce is in the custody of Homeland Security Investigations; and
b. The Ferrari, Porsche, and Maserati are located at Auto Brokers USA Corp.,
29951 South Federal Highway, Homestead, Florida 33033
LEGAL BASIS FOR FORFEITURE

19. Title 18, United States Code, Section 1028(a)(1) prohibits knowingly and without
lawful authority producing an identification document, authentication feature, or a false
identification document.

20. _—‘ Title 18, United States Code, Section 981(a)(1)(C) provides for the civit forfeiture
of “[a]ny property, real or personal, which constitutes or is derived from proceeds traceable to a

violation of” Title 18, United States Code, Section 1028.
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CLAIM FOR FORFEITURE

21. Based upon the foregoing, the Defendant Assets constitute or are derived from
proceeds traceable to a violation of Title 18, United States Code, Section 1028(a)(1) and are
therefore subject to forfeiture pursuant to Title 18, United States Code, Section 981(a)}(1)(C).

WHEREFORE, Plaintiff, United States of America requests, that any and ail persons
having any claim to the Defendant Assets be directed to file and serve their verified claims and
answers as required by Rule G(5) of the Supplemental Rules for Certain Admiralty and Maritime
Claims, or suffer default thereof, and further requests that the Court declare the Defendant Vehicles
condemned and forfeited to the United States of America, and that Plaintiff have such other and

further relief as may be just and proper.

Respectfully submitted,

ARIANA FAJARDO ORSHAN
UNITED STATES ATTORNEY

By: //Nicole Grosnoff

Nicole Grosnoff

Assistant United States Attorney
Court ID No. A5502029
nicole.s.grosnoff@usdoj.gov

U.S. Attorney’s Office

99 Northeast Fourth Street, 7th Floor
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Telephone: (305) 961-9294
Facsimile: (305) 536-4089
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VERIFICATION
I, Eric Moreno, am a Special Agent of the Department of Homeland Security, Homeland
Security Investigations, and | have read the contents of the foregoing Complaint for Forfeiture /n
Rem and declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct.

Executed 2s o\ Y \ 25 2019.

Jz M

Eric Moreno
Special Agent
Homeland Security Investigations
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 19-cy-23900-RNS

UNITED STATES OF AMERICA,

 

 

 
 

 

 

 

 

 

Plaintiff, Cartified to be a true and
Seago: Nobie, Clerk
VS. U.S. District Court
Southern District of Florida
ONE (1) 2012 ROLLS ROYCE i >
PHANTOM DROPHEAD, Date 2019
BEARING VIN
SCA682D53CUX16710,

ONE (1) 2016 FERRARI FF
MODEL, BEARING VIN
ZFF73SKA0G0215302,

ONE (1) 2017 PORSCHE 911
TURBO COUPE 2D, BEARING
VIN WPOAD2A94HS 166412, and

ONE (1) 2014 MASERATI
QUATTROPORTE, BEARING VIN
ZAMS56PPA7E1 084665,

Defendant Jn Rem.
if

 

WARRANT OF ARREST IN REM

TO: HOMELAND SECURITY INVESTIGATIONS OR ANY OTHER AUTHORIZED
FEDERAL LAW ENFORCEMENT OFFICER

WHEREAS, on September 18, 2019 the United States of America filed a Verified
Complaint for Forfeiture Jn Rem against One (1) 2012 Rolls Royce Phantom Drophead, bearing
Vehicle Identification Number (“WIN”) SCA682D53CUX 16710 (the “Rolls Royce’), One (1)
2016 Ferrari FF Model, bearing VIN ZFF73SKA0G0215302 (the “Ferrari’’), One (1) 2017 Porsche

911 Turbo Coupe 2D, bearing VIN WPOAD2A94HS166412 (the “Porsche’’), and One (1) 2014
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Maserati Quattroporte, bearing VIN ZAMS56PPA7E1084665 (the “Maserati”) (the “Defendant
Property”); and

WHEREAS, the Court, having reviewed the Complaint and the Government’s Application
for Warrant of Arrest Jn Rem, hereby finds, in accordance with Rule G(3)(b)(ii) of the
Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions
(“Supplemental Rules”), that there is probable cause to believe that the Ferrari, Porsche, and
Maserati, which are not currently in the Government’s possession, custody, or control or subject
to a judicial restraining order, are subject to forfeiture pursuant to Title 18, United States Code,
Section 98 1{a)(1}(C); and

WHEREAS, Supplemental Rule G(3)(c)(i) provides for that the Warrant of Arrest Jn Rem
must be delivered to a person or organization authorized to execute it to who may be a marshal or
any other United States officer or employee, someone under contract with the United States, or
someone specially appointed by the Court for that purpose;

YOU ARE, THEREFORE, HEREBY COMMANDED to arrest the Ferrari, Porsche,
and Maserati as soon as practicable by serving a copy of this warrant on the custodian in whose
possession, custody, or control the property is presently found, and to use whatever means may be
appropriate to protect and maintain it in your custody until further order of this Court.

YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file
the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.
 

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‘UNITED STATES BISTRICT JUDGE

 

Certified to be a true and
correct copy of the document on file
aE Sees Angela E. Noble
Scunem Dist of Forde UNITED STATES DISTRICT COURT
‘Alex Rodri SOUTHERN DISTRICT OF FLORIDA
By. \lex Rodriguez :
: Deputy Clerk By:.

oate_ Sep 20, 2079 Deputy Clerk

 

 

 

 
